Case 8:22-cv-02698-VMC-LSG    Document 105     Filed 07/20/23   Page 1 of 23 PageID
                                    1511




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   ALIN POP,

         Plaintiff,

   v.                                    Case No. 8:22-cv-2698-VMC-JSS

   LULIFAMA.COM LLC,
   MY LULIBABE, LLC, LOURDES
   HANIMIAN, TAYLOR MACKENZIE
   GALLO A/K/A TEQUILA TAYLOR,
   ALEXA COLLINS, ALLISON
   MARTINEZ, CINDY PRADO,
   GABRIELLE EPSTEIN, HALEY
   PALVE A/K/A HALEY FERGUSON,
   LEIDY AMELIA LABRADOR, and
   PRISCILLA RICART

        Defendants.
   ______________________________/

                                      ORDER

         This matter comes before the Court upon consideration of

   Defendants Lulifama.com LLC, My LuliBabe, LLC, and Lourdes

   Hanimian’s     (“Luli     Fama    Defendants”)     Motion     to   Dismiss

   Complaint (Doc. # 35), filed on December 23, 2022, and

   Defendants     Priscilla    Ricart,      Taylor   Gallo,     and   Allison

   Martinez’s Motion to Dismiss Complaint (Doc. # 41), filed on

   December 28, 2022. Defendants Leidy Amelia Labrador, Cindy

   Prado,   and   Alexa    Collins    joined   Ms.    Ricart,    Gallo,    and

   Martinez’s Motion. (Doc. ## 53, 54). Plaintiff Alin Pop filed




                                        1
Case 8:22-cv-02698-VMC-LSG   Document 105   Filed 07/20/23   Page 2 of 23 PageID
                                   1512




   a consolidated response on February 3, 2023. (Doc. # 57). For

   the reasons set forth below, the Motions are granted.

   I.    Background

         This action arises from the allegedly deceptive and

   misleading promotion of Luli Fama products. (Doc. # 1-1 at ¶

   2).

         Luli Fama is a “swimwear designer, manufacturer, and

   reseller that came to fame with the rise of Instagram.” (Id.

   at ¶ 6). Luli Fama primarily focuses on online sales, most of

   which “come from social media, including Instagram.” (Id. at

   ¶ 8). Ms. Lourdes Hanimian is the founder, CEO, and designer

   for Luli Fama. (Id. at ¶ 7). She “personally oversees” the

   company’s      “corporate     operations,        swimwear       design,

   manufacturing, marketing, social media,” and she “supervises

   Luli Fama’s relationship with the Influencers.” (Id.).

         “[A] large part of Luli Fama’s [marketing] strategy”

   involves asking social media influencers to advertise its

   products and to “disguise such advertising as honest consumer

   recommendation.” (Id. at ¶ 9). Luli Fama “makes tens of

   millions of dollars that can be attributed directly to the

   disguised Instagram advertising campaigns.” (Id. at 10). It

   pays “significant monies” to social media influencers for

   “their indispensable contribution.” (Id. at ¶ 11).


                                     2
Case 8:22-cv-02698-VMC-LSG    Document 105    Filed 07/20/23    Page 3 of 23 PageID
                                    1513




         Taylor   Gallo,     Cindy   Prado,   Priscilla        Ricart,   Haley

   Palve, Gabrielle Epstein, Allison Martinez, and Alexa Collins

   (“the Influencers”) “misrepresented the material relationship

   they have with [Luli Fama].” (Id. at ¶ 3). The Influencers

   promote Luli Fama products without disclosing the fact that

   they were paid to do so, in violation of the Federal Trade

   Commission’s (“FTC”) rules and guidelines. (Id. at ¶¶ 1, 3,

   49). Specifically, by failing to include tags such as “#ad,”

   “#sponsored” or using Instagram’s “paid partnership” tag, the

   Influencers allegedly violated 16 C.F.R. § 255.5 and thus

   violated the Federal Trade Commission Act, 15 U.S.C. § 45

   (“FTC Act”). (Id. at ¶ 44). Sometimes, the Influencers only

   tagged Luli Fama in their Instagram posts containing Luli

   Fama products, “suggesting that [the product] is just another

   swimsuit they purchased, and that Luli Fama is their ‘to go’

   place for swimwear.” (Id. at ¶ 14). By indicating that they

   are wearing Luli Fama swimwear in their posts, the Influencers

   – “even without using words” – are “indisputably” advertising

   Luli Fama products. (Id. at ¶ 15).

         Mr. Pop alleges that the Luli Fama Defendants and the

   Influencers’ “very profitable and very illegal” advertising

   practices led him to purchase “Luli Fama products” that were

   “of an inferior quality, compared with the expectations [he]


                                       3
Case 8:22-cv-02698-VMC-LSG    Document 105       Filed 07/20/23   Page 4 of 23 PageID
                                    1514




   had and the price he paid.” (Id. at ¶ 13). Mr. Pop purchased

   the product “exclusively because of the way the products are

   advertised” by “his favorite influencers[.]” (Id. at ¶ 43,

   54).    According     to     Mr.   Pop,      Luli     Fama     swimwear    is

   “approximately      100%   more    expensive”        than    other   swimwear

   brands, including Victoria’s Secret. (Id. at ¶ 55). Mr. Pop

   was unable to return the Luli Fama products he purchased and,

   when he tried to sell the “unused product” on eBay, “received

   only small offers that barely covered shipping[.]” (Id. at ¶

   57).

          Mr. Pop filed this class action in state court on October

   17, 2022, and the Defendants removed the case to this Court

   on November 23, 2022. (Doc. # 1). Mr. Pop asserts claims for

   deceptive    and    unfair    trade       practice    under    the    Florida

   Deceptive and Unfair Trade Practices Act (“FDUPTA”), Fla.

   Stat. § 501.201 (Count I), unjust enrichment (Count II), and

   negligent misrepresentation (Count III). (Doc. # 1-1). In his

   complaint, Mr. Pop seeks class certification on behalf of

   similarly situated consumers. (Id. at 22). On December 23,

   2022, the Luli Fama Defendants moved to dismiss the complaint

   (Doc. # 35), and Ms. Ricart, Gallo, and Martinez – joined by

   Ms.    Labrador,     Prado,    and        Collins     (collectively,      the

   “Influencer Defendants”) – moved to dismiss the complaint on


                                         4
Case 8:22-cv-02698-VMC-LSG    Document 105         Filed 07/20/23   Page 5 of 23 PageID
                                    1515




   December 28, 2022. (Doc. # 41). Mr. Pop filed a consolidated

   response to both Motions on February 3, 2023. (Doc. # 57).

   The Motions are now ripe for review.

   II.   Legal Standard

         On a motion to dismiss pursuant to Rule 12(b)(6), this

   Court accepts as true all the allegations in the complaint

   and   construes     them   in   the   light       most   favorable     to   the

   plaintiff. Jackson v. Bellsouth Telecomms., 372 F.3d 1250,

   1262 (11th Cir. 2004). Further, the Court favors the plaintiff

   with all reasonable inferences from the allegations in the

   complaint. Stephens v. Dep’t of Health & Human Servs., 901

   F.2d 1571, 1573 (11th Cir. 1990). But,

         [w]hile a complaint attacked by a Rule 12(b)(6)
         motion to dismiss does not need detailed factual
         allegations, a plaintiff’s obligation to provide
         the grounds of his entitlement to relief requires
         more than labels and conclusions, and a formulaic
         recitation of the elements of a cause of action
         will not do. Factual allegations must be enough to
         raise a right to relief above the speculative
         level.

   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal

   citations omitted). Courts are not “bound to accept as true

   a legal conclusion couched as a factual allegation.” Papasan

   v. Allain, 478 U.S. 265, 286 (1986). The Court must limit its

   consideration to well-pleaded factual allegations, documents

   central   to   or   referenced    in      the    complaint,      and   matters


                                         5
Case 8:22-cv-02698-VMC-LSG       Document 105    Filed 07/20/23        Page 6 of 23 PageID
                                       1516




   judicially noticed. La Grasta v. First Union Sec., Inc., 358

   F.3d 840, 845 (11th Cir. 2004).

   III. Analysis

         Both the Luli Fama and Influencer Defendants seek to

   dismiss all counts of the complaint. (Doc. ## 35, 41). The

   Court will address each count in turn.

         A.        Count I (FDUPTA)

                   1.   Rule 9(b)

         The Luli Fama and Influencer Defendants assert that Mr.

   Pop’s FDUPTA claim should be dismissed because Mr. Pop has

   failed     to    meet   the    heightened     pleading    requirements          of

   Federal Rule of Civil Procedure 9(b). (Doc. # 35 at 7-12;

   Doc. # 41 at 6-8). Mr. Pop contends that Rule 9(b) does not

   apply to FDUPTA claims and cites to other district courts in

   the   Eleventh       Circuit    that   have    declined        to     apply    the

   heightened pleading requirements. (Doc. # 57 at 6-9).

         To establish a cause of action under FDUTPA, a plaintiff

   must sufficiently allege the following three elements: “(1)

   a deceptive act or unfair practice; (2) causation; and (3)

   actual damages.” Kertesz v. Net Transactions, Ltd., 635 F.

   Supp. 2d 1339, 1348 (S.D. Fla. 2009) (quoting City First

   Mortg. Corp. v. Barton, 988 So. 2d 82, 86 (Fla. 4th DCA




                                          6
Case 8:22-cv-02698-VMC-LSG       Document 105         Filed 07/20/23        Page 7 of 23 PageID
                                       1517




   2008)). “A deceptive practice is one that is likely to mislead

   consumers,     and      an   unfair    practice          is   one    that    ‘offends

   established       public      policy’       or     is     ‘immoral,        unethical,

   oppressive,       unscrupulous         or       substantially        injurious       to

   consumers.’” Bookworld Trade, Inc. v. Daughters of St. Paul,

   Inc., 532 F. Supp. 2d 1350, 1364 (M.D. Fla. 2007) (quoting

   Rollins, Inc. v. Butland, 951 So.2d 860, 869 (Fla. 2d DCA

   2006)).

          Courts in this district have varied on whether a claim

   for relief under FDUTPA must also meet Rule 9(b)’s heightened

   pleading standard. Compare Allstate Ins. Co. v. Auto Glass

   Am., LLC, 418 F. Supp. 3d 1009, 1021-22 (M.D. Fla. 2019) (“As

   a    threshold    matter,       this    Court      declines         to    impose    the

   heightened pleading standard set forth in Rule 9(b)[.]”) with

   Blair v. Wachovia Mortg. Corp., No. 5:11-cv-566-RBD-TBS, 2012

   WL 868878, at *3 (M.D. Fla. Mar. 14, 2012) (“[T]his Court

   concludes that where the gravamen of the [FDUTPA] claim sounds

   in fraud, as here, the heightened pleading standard of Rule

   9(b) would apply.”).

          This Court, however, applies the heightened pleading

   standards to FDUPTA allegations sounding in fraud. See Inouye

   v.    Adidas     Am.,    Inc.,    No.       8:22-cv-416-VMC-TGW,             2023    WL

   2351654,   at     *3    (M.D.    Fla.       Mar.    3,    2023)      (applying      the


                                               7
Case 8:22-cv-02698-VMC-LSG   Document 105       Filed 07/20/23   Page 8 of 23 PageID
                                   1518




   heightened Rule 9(b) pleading standard to a FDUPTA claim);

   Altamonte Pediatric Assocs. v. P.A. Greenway Health, LLC, No.

   8:20-cv-604-VMC-JSS, 2020 WL 5350303, at *4 (M.D. Fla. Sept.

   4, 2020) (same).

         Here, Mr. Pop       alleges that       both the Luli Fama and

   Influencer Defendants engaged in “a deceptive act or unfair

   practice” by “engaging in fraud and statutory violations.”

   (Doc. # 1 at ¶ 68).

         Given the above allegations of the complaint, Mr. Pop’s

   FDUPTA   claim   sounds    in   fraud   as    it   avers      “unscrupulous

   [practices] . . . likely to mislead any consumer acting

   reasonably in the circumstances.” (Id. at ¶ 70). Therefore,

   Rule 9(b)’s heightened pleading standard applies. See PB

   Prop. Mgmt., Inc. v. Goodman Mfg. Co., No. 3:12-cv-1366-HES-

   JBT, 2013 WL 12172912, at *6 (M.D. Fla. Aug. 28, 2013) (“[T]he

   Middle District of Florida has consistently held that those

   FDUTPA claims that hinge on allegations of misrepresentation

   are ‘grounded in fraud’ and are therefore governed by Rule

   9(b)’s heightened pleading requirements.”).

         Again, Rule 9(b) requires a plaintiff to allege the “who,

   what, when, where, and how” of misconduct. Garfield v. NDS

   Health Corp., 466 F.3d 1255, 1262 (11th Cir. 2006) (quotations

   omitted).


                                      8
Case 8:22-cv-02698-VMC-LSG        Document 105         Filed 07/20/23           Page 9 of 23 PageID
                                        1519




          Here, Mr. Pop has failed to plead with particularity any

   element of his FDUPTA claim. He has not indicated which posts

   from the Influencer Defendants led him to purchase the Luli

   Fama   product     or    provided      any       details          of   the     Luli     Fama

   Defendants’ alleged scheme to pay the Influencer Defendants

   to promote Luli Fama products – other than asserting that

   Luli Fama pays “significant monies” to promote its products.

   (Doc. # 1 at ¶ 11). He has failed to identify any instances

   in which the Influencers posted any allegedly misleading

   advertisements      –    let     alone      when       the    advertisements            were

   posted – or allege when he himself viewed such posts. He has

   failed      to   provide    any      description             of    what       product    he

   purchased, why it was of inferior quality, or why he was

   unable to return or resell the product.

          Importantly,        because         of     this,       Mr.       Pop      has     not

   sufficiently      pled     the      “causation”         element        of     his   FDUPTA

   claim. While Mr. Pop alleges that the misleading posts induced

   him    to   purchase     the     product,         he    does       not       allege    with

   particularity       that       he    was        induced       by       any     misleading

   statements by any defendant. Put differently, Mr. Pop has

   failed      to   allege     “whether            [he]      viewed         [the       alleged

   misrepresentations] at all before purchasing the allegedly

   defective products.” PB Prop. Mgmt., 2013 WL 12172912, at *7.


                                              9
Case 8:22-cv-02698-VMC-LSG      Document 105     Filed 07/20/23    Page 10 of 23 PageID
                                      1520




    Without    alleging         that    he      viewed     misrepresentations

    attributable      to   either       the     Luli     Fama     or   Influencer

    Defendants, Mr. Pop cannot support a claim under FDUPTA.

               2.     Failure to State a Claim

          Even if Rule 9(b)’s heightened pleading standard did not

    apply to Mr. Pop’s FDUPTA claim, Count I still fails to state

    a claim upon which relief could be granted. Both the Luli

    Fama and Influencer Defendants contend that Mr. Pop has failed

    to demonstrate any of the three requisite elements of an

    FDUPTA claim. (Doc. # 38 at 12-25; Doc. # 41 at 9-16). Mr.

    Pop asserts that he has sufficiently pled all elements of his

    claim. (Doc. # 57 at 12-17).

          The ”deceptive or unfair practice” element of an FDUPTA

    claim can be alleged in two ways: (1) by asserting a violation

    of “any rules promulgated pursuant to the Federal Trade

    Commission      Act”   or    “any    law,     statute,      regulation,    or

    ordinance which proscribes unfair methods of competition, or

    unfair, deceptive, or unconscionable acts or practices,” Fla.

    Stat. § 501.203(3)(a), (c); or (2) by alleging that “there is

    a representation, omission, or practice that is likely to

    mislead the consumer acting reasonably in the circumstances,

    to the consumer’s detriment.” Blair v. Wachovia Mortg. Corp.,




                                         10
Case 8:22-cv-02698-VMC-LSG    Document 105      Filed 07/20/23     Page 11 of 23 PageID
                                    1521




    No. 11-cv-566-RBD-TS, 2012 WL 868878, at *3 (M.D. Fla. Mar.

    14, 2012).

          In his complaint, Mr. Pop appears to allege a per se

    FDUPTA violation. See (Doc. # 1 at ¶ 69) (“By failing to

    disclose    material     connections,      Defendants        Luli    Fama   and

    Influencers violated Section 5(a) of 15 U.S.C. § 45(a) which

    represents a per se violation of ‘FDUPTA’.”). Specifically,

    he   appears    to   advance    the    theory    that    the        Influencer

    Defendants     violated    16   C.F.R.     §    255.5   and,        therefore,

    violated the FTC Act. See (Id. at ¶ 44) (“[The Influencers

    are not compliant with the FTC Rules found in 16 C.F.R. §

    255.5 and the FTC guidelines regarding advertising in social

    media.”).

          Section    255.5,    titled      “Guides     Concerning         Use   of

    Endorsements and Testimonials in Advertising,” lays out the

    following interpretation of the FTC Act:

          When there exists a connection between the endorser
          and the seller of the advertised product that might
          materially affect the weight or credibility of the
          endorsement (i.e., the connection is not reasonably
          expected by the audience), such connection must be
          fully disclosed.

    16 C.F.R. § 255.5(1).

          Unfortunately for Mr. Pop, Section 255.5 cannot form the

    basis of a per se FDUPTA violation. Section 255.5 is a guide



                                          11
Case 8:22-cv-02698-VMC-LSG       Document 105     Filed 07/20/23    Page 12 of 23 PageID
                                       1522




    that does not proscribe conduct, and, as such, it is not a

    rule promulgated pursuant to the FTC Act or a regulation that

    proscribes unfair methods of competition. See 16 C.F.R. Ch.

    I,    Subch.    B,     Pt.     17    (“[G]uides      are       administrative

    interpretations of laws administered by the Commission for

    the guidance of the public in conducting its affairs in

    conformity with legal requirements.              They provide the basis

    for   voluntary      and     simultaneous     abandonment         of    unlawful

    practices      by    members    of    industry.”      (emphasis         added)).

    Additionally, the FTC Act cannot independently form the basis

    of a per se FDUPTA violation, as it does not provide a private

    right of action. Holmes v. Ocwen Fin. Corp., 747 F. App’x

    836, 837 (11th Cir. 2019). Therefore, Mr. Pop has not alleged

    a per se FDUPTA violation.

          Mr. Pop’s FDUPTA claim fails for another reason. To

    successfully prosecute an FDUPTA claim, the plaintiff must

    allege that the unfair practice at issue caused his alleged

    harm. “Causation under FDUTPA must be direct, rather than

    remote   or    speculative.”        Stewart   Agency,      Inc.    v.    Arrigno

    Enters., Inc., 266 So. 3d 207, 213 (Fla. 4th DCA 2019)

    (quoting Lombardo v. Johnson & Johnson Consumer Cos., Inc.,

    124 F. Supp. 3d 1283, 1290 (S.D. Fla. 2015)). The Eleventh

    Circuit has held that the element of causation is met when


                                          12
Case 8:22-cv-02698-VMC-LSG   Document 105        Filed 07/20/23   Page 13 of 23 PageID
                                   1523




    the   alleged    misrepresentations      would        have    deceived     an

    objectively reasonable person. Fitzpatrick v. Gen. Mills,

    Inc., 635 F.3d 1279, 1283 (11th Cir. 2011). Where the harm

    does not result from the FDUPTA violation, the claim must

    fail for lack of causation. See Ferrara v. LCS Fin. Servs.

    Corp., No. 8:14-cv-2450-JSM-AEP, 2015 WL 84703, at *3 (M.D.

    Fla. Jan. 7, 2015) (“[T]he Complaint does not contain any

    allegations     regarding   how   [defendant’s]          statements      were

    misleading, nor does it contain allegations of causation

    connecting [defendant’s] actions to               any alleged damages.

    Accordingly,    [plaintiff]   has      not     sufficiently      plead   all

    elements of a FDUPTA claim.”).

          Mr. Pop cannot demonstrate a causal connection between

    the alleged wrongdoing and his alleged injury. Mr. Pop asserts

    that the Luli Fama and Influencer Defendants engaged in the

    deceptive and unfair practice of failing to disclose an

    advertising relationship. (Doc. # 1 at ¶ 44). His alleged

    injury, however, is his purchase of a Luli Fama product of

    “inferior quality compared with the expectations [he] had and

    the price he paid.” (Id. at ¶ 13). He does not explain how

    the Defendants’ alleged failure to disclose an advertising

    relationship led to him receiving a Luli Fama product that he

    perceived to be inferior. Indeed, it is unclear how he could


                                      13
Case 8:22-cv-02698-VMC-LSG    Document 105       Filed 07/20/23   Page 14 of 23 PageID
                                    1524




    even have attempted to draw such a connection. Even taking

    the facts in the light most favorable to him, Mr. Pop does

    not allege that the product was different from what he

    presumably saw in an Instagram post. He does not allege that

    the Influencer Defendants made any statements regarding the

    quality of the product.

          Finally, Mr. Pop’s FDUPTA claim must fail for want of

    actual damages. Actual damages “are measured according to the

    difference in the market value of the product or service in

    the condition in which it was delivered and its market value

    in the condition in which it should have been delivered

    according to the contract of the parties.” Marrache v. Bacardi

    U.S.A., Inc., 17 F.4th 1084, 1098 (11th Cir. 2021). FDUTPA

    “does   not   provide    for   the   recovery      of   nominal    damages,

    speculative losses, or compensation for subjective feelings

    of disappointment.” Id. Mr. Pop believes that the products he

    purchased were of “an inferior quality” compared with his

    expectations and the price he paid. (Doc. # 1 at ¶ 13). He

    does not allege that he paid more than market value for the

    products nor does he allege               that he received a product

    different than the one he intended to purchase – he is simply

    dissatisfied with the products. Subjective dissatisfaction

    does not constitute actual damages under FDUPTA. See Clear


                                         14
Case 8:22-cv-02698-VMC-LSG     Document 105         Filed 07/20/23      Page 15 of 23 PageID
                                     1525




    Marine Ventures Ltd. v. Brunswick Corp., No. 08-CV-22418,

    2010 WL 528477, at *5 (S.D. Fla. Feb. 11, 2010) (dismissing

    FDUPTA claim,        where purchaser of a boat claimed it was

    “aesthetically unpleasing” and, thus, “entirely unsellable,”

    for failing to allege that the “aesthetic changes affected .

    . . . the value beyond mere speculation.”).

           Because amendment would not cure the fatal defects in

    Mr. Pop’s FDUPTA claim, Count I of the complaint is dismissed

    with prejudice as to the Luli Fama and Influencer Defendants.

    See Silberman v. Miami Dade Transit, 927 F.3d 1123, 1133 (11th

    Cir.    2019)     (explaining    that     while      leave    to    amend     ought

    generally to be freely granted, leave to amend need not be

    granted when any amendment would be futile).

           B.   Count II (Unjust Enrichment)

            The Luli Fama Defendants argue that Mr. Pop’s unjust

    enrichment claim should be dismissed because it is not based

    on     separate     wrongdoing     from    his       FDUPTA       and    negligent

    misrepresentation        claims.     (Doc.       #    38     at     25-28).     The

    Influencer        Defendants     adopt    the     Luli       Fama       Defendants’

    argument and further contend that Mr. Pop has not sufficiently

    alleged that he conferred a direct benefit on the Influencers,

    and, therefore, Mr. Pop’s unjust enrichment claim should be




                                         15
Case 8:22-cv-02698-VMC-LSG      Document 105     Filed 07/20/23   Page 16 of 23 PageID
                                      1526




    dismissed as to them. (Doc. # 41 at 16-19). In Mr. Pop’s

    opposition, he asserts that he stated a claim. (Doc. # 57 at

    17-19).

          To bring an unjust enrichment claim under Florida law,

    a plaintiff must allege that: (1) the plaintiff conferred a

    benefit     on   the   defendant;     (2)   the   defendant    voluntarily

    accepted and retained the benefit; and (3) it would be

    inequitable for the defendant to retain the benefit without

    paying the value of the benefit to the plaintiff. Johnson v.

    Catamaran Health Sols., LLC, 687 F. App’x 825, 830 (11th Cir.

    2017) (citing Fito v. Att’ys’ Title Ins. Fund, Inc., 83 So.

    3d   755,   758   (Fla.   3d    DCA   2011)).     Further,    the    benefit

    conferred on the defendant must be a direct benefit. Kopel v.

    Kopel, 229 So. 2d 3d 812, 816 (Fla. 2017).

          This Court has previously found that “a claim of unjust

    enrichment may not be predicated on a wrong committed by a

    defendant.” State Farm Mut. Auto. Ins. Co. v. Lewin, 535 F.

    Supp. 3d 1247, 1266 (M.D. Fla. 2021); see also Day v. Sarasota

    Drs. Hosp., Inc., No. 8:19-CV-1522-VMC-TGW, 2020 WL 7390153,

    at *7 (M.D. Fla. Feb. 7, 2020) (“The law of unjust enrichment

    is   concerned     solely      with   enrichments      that    are   unjust

    independently of wrongs and contracts.” (quoting Flint v.

    ABB, Inc., 337 F.3d 1326, 1330 n.2 (11th Cir. 2003)));


                                          16
Case 8:22-cv-02698-VMC-LSG            Document 105     Filed 07/20/23    Page 17 of 23 PageID
                                            1527




    Electrostim Med. Servs., Inc. v. Lindsey, No. 8:11-cv-2467-

    VMC-TBM, 2012 WL 1560647, at *4 (M.D. Fla. May 2, 2012)

    (“Where a plaintiff predicates their unjust enrichment claim

    on wrongful conduct of a defendant, then the plaintiff’s right

    of recovery, if any, arises from the wrong of the alleged

    tort rather than unjust enrichment.”).

             Here, the only allegation supporting Mr. Pop’s claim for

    unjust     enrichment        is    that    “by    paying    the     higher   prices

    demanded by Luli Fama, Plaintiff and the members of the class

    conferred a direct benefit to each of the Defendants.” (Doc.

    # 1 at ¶ 77). Mr. Pop also gestures toward unjust enrichment

    in   a     separate     section       of    the    complaint,       stating    that

    “Defendant sold more of the Product and at higher prices than

    it would have in the absence of this misconduct, resulting in

    additional profits at the expense of consumers.” (Id. at ¶

    21).

             First,   Mr.   Pop        does    not    explain    how    his   purchase

    benefitted the Influencer Defendants. (Id. at ¶ 39). At no

    point in the complaint does Mr. Pop detail how his purchases

    from Luli Fama directly benefitted the Influencer Defendants.

    Even     assuming     that    the     Influencer      Defendants       received    a

    portion of the revenues from all Luli Fama sales – a generous

    assumption indeed, as it is not alleged in the complaint –


                                               17
Case 8:22-cv-02698-VMC-LSG      Document 105     Filed 07/20/23       Page 18 of 23 PageID
                                      1528




    this    would   indicate    an    indirect    benefit       “at     best.”   See

    Johnson, 687 F. App’x at 830 (finding a purchase from a third-

    party who then, in turn, pays premiums to the defendant

    insufficient to establish a direct benefit conferred on the

    defendant); Extraordinary Title Services, LLC v. Florida

    Power & Light Co., 1 So. 3d 400, 404 (Fla. 3d DCA 2009)

    (same). Mr. Pop has thus failed to show that he conferred a

    direct benefit on the Influencer Defendants.

           Because Mr. Pop cannot establish that he conferred a

    direct    benefit      on    Influencer      Defendants,           his    unjust

    enrichment claim is due to be dismissed with prejudice as to

    them.

           Mr. Pop’s unjust enrichment claim also fails as to the

    Luli Fama Defendants. Count II is based solely on the unjust

    nature of the Luli Fama and Influencer Defendants’ alleged

    failure to disclose an advertising relationship. Accordingly,

    Mr. Pop has failed to allege that the Luli Fama and Influencer

    Defendants      were   enriched    independently       of     their      alleged

    deceptive advertising relationship.

           In sum, the Court finds that Mr. Pop cannot properly

    state a claim for unjust enrichment based on the allegations

    set forth in the complaint. The Court finds that amendment

    would be futile, and Count II is dismissed with prejudice as


                                         18
Case 8:22-cv-02698-VMC-LSG      Document 105          Filed 07/20/23    Page 19 of 23 PageID
                                      1529




    to both the Luli Fama and Influencer Defendants. See Day,

    2020 WL 7390153, at *7 (M.D. Fla. Feb. 7, 2020) (dismissing

    with   prejudice    an   unjust     enrichment          claim      after   finding

    plaintiff could not state a claim where he “failed to allege

    that   Doctors    Hospital    was      enriched        independently       of    its

    allegedly unlawful billing practices.”); Tilton v. Playboy

    Ent. Grp., Inc., No. 8:05-cv-692-JSM-TGW, 2007 WL 80858, at

    *3 (M.D. Fla. Jan. 8, 2007) (dismissing with prejudice unjust

    enrichment claim that was based solely on the defendants’

    wrongful conduct).

           C.   Count III (Negligent Misrepresentation)

           According to the Luli Fama and Influencer Defendants,

    Mr.    Pop’s    negligent     misrepresentation              claim      should   be

    dismissed because he has not pled the claim with sufficient

    particularity under Rule 9(b). (Doc. # 38 at 7-12; Doc. # 41

    at 19-21). Further, they both argue that Count III fails to

    state a claim because any misrepresentation was immaterial

    and, at most, Mr. Pop could only allege a misrepresentation

    by omission based on the facts in the complaint. (Doc. # 38

    at 28-30; Doc. # 41 at 19-21). Mr. Pop contends Rule 9(b)’s

    pleading       requirements       do        not      apply         to    negligent




                                           19
Case 8:22-cv-02698-VMC-LSG     Document 105    Filed 07/20/23   Page 20 of 23 PageID
                                     1530




    misrepresentation claims and that he stated a valid claim.

    (Doc. # 57 at 19-20).

          1.   Rule 9(b)

          To state a claim for negligent misrepresentation in

    Florida, a plaintiff must allege: (1) a misrepresentation of

    a   material      fact;    (2)    that    the   defendant      made    the

    representation without knowledge as to its truth or falsity,

    or under circumstances in which he ought to have known of its

    falsity;    (3)     that    the    defendant     intended      that    the

    misrepresentation induce another to act on it; (4) injury

    must result to the party acting in justifiable reliance on

    the misrepresentation. Souran v. Travelers Ins. Co., 982 F.2d

    1497, 1503 (11th Cir. 1993). As a fraud-based claim, Mr. Pop’s

    negligent misrepresentation claim is also subject to the

    heightened pleading requirement of Rule 9(b). Lamm v. State

    St. Bank & Tr., 749 F.3d 938, 951 (11th Cir. 2014).

          Mr. Pop’s claim for negligent misrepresentation relies

    upon the notion that the Luli Fama and Influencers Defendants

    “had a duty to be truthful in their commercial speech.” (Doc.

    # 1 at ¶ 83).

          Like with Mr. Pop’s FDUPTA claim, the claim for negligent

    misrepresentation fails to specify any details – beginning by

    failing to allege which posts he saw from the Influencers


                                        20
Case 8:22-cv-02698-VMC-LSG    Document 105      Filed 07/20/23     Page 21 of 23 PageID
                                    1531




    promoting Luli Fama products and ending with failing to

    explain how those posts led him to purchase unidentified

    “products” he considered inferior – regarding the elements of

    his claim. Thus, he has failed to plead with sufficient

    particularity that any defendant made a misstatement or that

    he acted in “justifiable reliance” on the Defendants’ alleged

    misrepresentation.

          2.   Failure to State a Claim

          Even if Rule 9(b)’s heightened standard did not apply,

    Mr. Pop still fails to state a claim. Again, Mr. Pop claims

    the   misrepresentation      was     the    failure      to    disclose    an

    advertising   relationship.        Again,    he   has    not   specified    a

    single post where one of the Influencers failed to disclose

    it was a paid advertisement. Even if he had, a failure to

    disclose such information would not constitute an actionable

    misrepresentation in this case.

          Under Florida law, “the failure to disclose material

    information    is   not   actionable        as    part   of    a   negligent

    misrepresentation claim absent some fiduciary or fiduciary-

    like duty to disclose the information[.]” Hawaiian Airlines,

    Inc. v. AAR Aircraft Servs., Inc., 167 F. Supp. 3d 1311, 1322

    (S.D. Fla. 2016); see also TransPetrol, Ltd. v. Radulovic,

    764 So. 2d 878, 879 (Fla. 4th DCA 2000) (“A defendant’s


                                        21
Case 8:22-cv-02698-VMC-LSG    Document 105   Filed 07/20/23       Page 22 of 23 PageID
                                    1532




    knowing concealment or non-disclosure of a material fact may

    only support an action for fraud where there is a duty to

    disclose.”). “To establish a fiduciary relationship, a party

    must allege some degree of dependency on one side and some

    degree of undertaking on the other side to advise, counsel,

    and protect the weaker party.” Muy v. Int’l Bus. Machines

    Corp., No. 4:19CV14-MW/CAS, 2019 WL 8161749, at *3 (N.D. Fla.

    Nov. 25, 2019) (quoting Taylor Woodrow Homes Fla., Inc. v.

    4/46-A Corp., 850 So. 2d 536, 540 (Fla. 5th DCA 2003)).

    Parties in arms-length transactions generally do not incur a

    duty to disclose all material facts. See Id. (“While parties

    in arm’s length transactions may incur a duty to disclose all

    material facts when other information is disclosed . . . such

    liability is generally limited to actions for fraudulent

    misrepresentation        between   parties    with        a    contractual

    relationship[.]” (citations omitted)).

          Here, Mr. Pop has not, and cannot, allege that as a

    consumer, he had any fiduciary-like relationship with either

    the Luli Fama or Influencer Defendants. He did not have a

    contractual relationship with either group that would trigger

    a duty to disclose.




                                       22
Case 8:22-cv-02698-VMC-LSG     Document 105    Filed 07/20/23   Page 23 of 23 PageID
                                     1533




          Because amendment would be futile, Count III of the

    complaint is dismissed with prejudice as to the Luli Fama and

    Influencer Defendants.

          Accordingly, it is

          ORDERED, ADJUDGED, and DECREED:

    (1)   Lulifama.com       LLC,   My   LuliBabe,     LLC,     and   Lourdes

          Hanimian’s Motion to Dismiss Complaint (Doc. # 35) is

          GRANTED.

    (2)   Defendants Priscilla Ricart, Taylor Gallo, and Allison

          Martinez’s Motion to Dismiss Complaint (Doc. # 41) is

          GRANTED.

    (3)   Counts I, II, and III are DISMISSED with prejudice as to

          Defendants Lulifama.com LLC, My LuliBabe, LLC, Lourdes

          Hanimian,   Priscilla      Ricart,     Taylor     Gallo,    Allison

          Martinez, Leidy Amelia Labrador, Cindy Prado, and Alexa

          Collins.

          DONE and ORDERED in Chambers in Tampa, Florida, this

    20th day of July, 2023.




                                         23
